' Case 1:19-cr-00428-JGK Document 6 Filed 06/20/19 Page 1 of 6

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA : SEALED SUPERSEDING
INDICTMENT
- Vv. 7 ;
S119 CrHLy ( }
MICHARL CASTILLO,
a/k/a “Squirrel,”
Defendant.
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COUNT ONE
The Grand Jury charges:
1. In or about 2011, in the Southern District of New York

and elsewhere, MICHAEL CASTILLO, a/k/a “Squirrel,” the
defendant, did travel in and cause another person to travel in
interstate and foreign commerce, and did use and cause another
person to use the mail and a facility of interstate and foreign
commerce, with intent that a murder be committed in violation of
the laws of a State and the United States as consideration for
the receipt of, and as consideration for a promise and agreement
to pay, a thing of pecuniary value, which resulted in the death
of Hector Arias, and did aid and abet the same, to wit, a
coconspirator (“CC-1%) hired and paid CASTILLO to murder Arias,
and CASTILLO did so.

(Title 18, United States Code, Sections 1958 and 2.)

    

   
     

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Case 1:19-cr-00428-JGK Document 6 Filed 06/20/19 Page 2 of 6

COUNT TWO

The Grand Jury further charges:

2. On or about March 10, 2011, in the Southern District
of New York and elsewhere, MICHAEL CASTILLO, a/k/a “Squirrel,”
the defendant, willfully and knowingly, curing and in relation
to a drug trafficking crime for which he may be prosecuted in a
court of the United States, namely, a conspiracy to distribute
marijuana, did use and carry a firearm, and, in furtherance of
such drug trafficking crime, did possess a firearm, and in the
course of that drug trafficking crime did, through the use of a
firearm, cause the death of Hector Arias, which killing was
murder as defined in Title 18, United States Code, Section
L111 (a), and did aid and abet the same.

(Title 18, United States Code, Sections 924(4) and 2.)

COUNT THREE

The Grand Jury further charges:

3. On or about March 10, 2011, in the Southern District
of New York and elsewhere, MICHAEL CASTILLO, a/k/a “Squirrel,”
the defendant, knowingly traveled in interstate and foreign
commerce and used the maiis and any facility in interstate and
foreign commerce with intent to commit a crime of violence,
namely, murder, to further an unlawful activity, namely, a
business enterprise involving a controlled substance, and with

intent to promote, manage, establish, and carry on, and

 
Case 1:19-cr-00428-JGK Document 6 Filed 06/20/19 Page 3 of 6

facilitate the promotion, management, establishment, and
carrying on of the unlawful activity, and thereafter did perform
a crime of violence to further the unlawful activity, and did
aid and abet the same, and death resulted, to wit, at CC-l1'’s
request and direction, CASTILLO shot and killed Hector Arias in
the vicinity of 712 East Gun Hill Road in the Bronx, New York.
(Title 18, United States Code, Sections 1952 and 2.)
SPECIAL FINDINGS
4. Counts One and Two of this Indictment are realleged

and incorporated by reference as though fully set forth herein.
As to Counts One and Two, alleging the murder of Hector Arias,
the defendant MICHAEL CASTILLO, a/k/a “Squirrel”:

a. was 18 years of age or older at the time of
the offense;

b. intentionally killed the victim (Titie 18,
United States Code, Section 3591 (a) (2) (A)};

c. intentionally inflicted serious bodily
injury that resulted in the death of the victim (Title 18,
United States Code, Section 3591 (a) (2) (B)); and

d. intentionally participated in an act,
contemplating that the life of a person would be taken or
intending that lethal force would be used in connection with a

person, other than one of the participants in the offense, and

 

 
Case 1:19-cr-00428-JGK Document 6 Filed 06/20/19 Page 4 of 6

the victim died as a direct result of the act (Title 18, United
States Code, Section 3591 (a) (2) (C)).

FOREFEITURE ALLEGATION

 

5. As a result of committing the offense alleged in Count
One of this Indictment, MICHAFKL CASTILLO, a/k/a “Squirrel,” the
defendant, shall forfeit to the United States, pursuant to
Title 18, United States Code, Section 981(a) (1) (C) and Title 28
United States Code, Section 2461(c}), any and all property, real
and personal, that constitutes or is derived from proceeds
traceable to the commission of said offense, including but not
limited to a sum of money in United States currency representing
the amount of proceeds traceable to the commission of said
offense that the defendant personally obtained.

SUBSTITUTE ASSETS PROVISION

 

o. If any of the above-described forfeitable property, as

a result of any act or omission of the defendant:

a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited

with, a third person;

Cc, has been placed beyond the jurisdiction of the
Court;

d. has been substantially diminished in value; or
e, has been commingled with other property which

cannot be subdivided without difficulty;

 
Case 1:19-cr-00428-JGK Document 6 Filed 06/20/19 Page 5 of 6

it is the intent of the United States, pursuant to Title 21,
United States Code, Section 853(~) and Title 28, United States
Code, Section 2461(c), to seek forfeiture of any other property

of the defendant up to the value of the above forfeitable

property.

(Title 18, United States Code, Section 981;
Title 21, United States Code, Section 853; and
Titie 28, United States Code, Section 2461.)

FOREP ” : GEOFFREY 5. BERMAN
United States Attorney

 

 

 

 
Case 1:19-cr-00428-JGK Document 6 Filed 06/20/19 Page 6 of 6

Form No. USA-338-274 (Ed. 9-25~58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
Vv.

MICHAEL CASTILLO,
a/k/a “Squirrel,”

Defendant.

 

SEALED SUPERSEDING INDICTMENT
S119 Cr. ( )

(18 U.S.C. §§ 1958, 1952, 924(4),
and 2.)

GEOFFREY S. BERMAN
United States Attorney

 

   
 

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Foreperson

 

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